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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 CANAL INSURANCE COMPANY,                   )
                                            )
        Plaintiff,                          )
                                            )
 vs.                                        )     No. 3:13-cv-00447
                                            )
 MOORE FREIGHT SERVICES, INC.,              )
 PATTY C. WILSON, individually and          )
 as administrator of the ESTATE OF          )
 JERRY WILSON, TA OPERATING,                )
 LLC, TRESTON WESLEY HARRIS,                )
 EASTBRIDGE TRAILERS,                       )
 COMPANY, MANAC, INC.,                      )
 MANAC TRAILERS USA, INC.,                  )
 HENDRICKSON, USA, LLC, and                 )
 BOLER COMPANY,                             )
                                            )
        Defendants.                         )


                  AMENDED COMPLAINT FOR DECLARATORY JUDGMENT


        Comes now the Plaintiff, Canal Insurance Company, by and through counsel, and

 for its Amended Complaint against the Defendants would show the Court as follows:

                                          PARTIES

        1.        Canal Insurance Company (hereinafter referred to as “Canal”) is a South

 Carolina corporation with its principal place of business located at 400 E. Stone Avenue,

 Greenville, South Carolina 29601.

        2.        Defendant Moore Freight Service, Inc. (hereinafter referred to as “Moore

 Freight”) is a Tennessee Corporation with its principal place of business located at 2000

 Eastbridge Blvd., Mascot, Knox County, Tennessee 37806.




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        3.        Defendant Patty C. Wilson, individually and as administrator of the Estate of

 Jerry Wilson (hereinafter collectively referred to as “Wilson”), is a citizen of North Carolina

 and resides at 1948 Twin Ponds Drives, Hickory, North Carolina 28601.

        4.        Defendant TA Operating LLC (hereinafter referred to as “TA Operating”) is a

 Delaware corporation with its principal place of business located at 24601 Center Ridge

 Road, Suite 200, Westlake, Ohio 44145-5639.

        5.        Defendant Treston Wesley Harris (hereinafter referred to as “Harris”) is an

 individual citizen of Pennsylvania and resides at 500 Linden Street, Lock Haven,

 Pennsylvania 17745 or 511 Glenwood Avenue, Du Bois, Pennsylvania 15801.

        6.        Defendant Eastbridge Trailers (hereinafter referred to as “Eastbridge”) is a

 Tennessee company with its principal place of business located at 2000 Eastbridge Blvd.,

 Mascot, Tennessee 37806.

        7.        Defendant Manac, Inc. (hereinafter referred to as “Manac”) is a Canadian

 corporation with its principal place of business located at 22705 107E Rue Saint-Georges

 (Quebec) G5Y 8G6.

        8.        Defendant Manac Trailers USA, Inc. (hereinafter referred to as “Manac

 Trailers”) is a Delaware corporation with its principal place of business at 1202 Butler Road,

 Freeport, Pennsylvania 16229.

        9.        Defendant Hendrickson, USA, LLC (hereinafter referred to as “Hendrickson”)

 is a Delaware LLC with its principal place of business located at 2070 Industrial Place SE,

 Canton Ohio 44707.




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        10.       Defendant Boler Company (hereinafter referred to as “Boler”) is a Delaware

 corporation with its principal place of business at 500 Park Boulevard, Suite 1010, Itasca,

 Illinois 60143.

                                 JURISDICTION AND VENUE

        11.       Plaintiff brings this action for declaratory judgment pursuant to 28 U.S.C.

 §§ 2201-2202. This Court has jurisdiction to hear this cause pursuant to 28 U.S.C. § 1332,

 as it is between citizens of different states and the amount in controversy exceeds

 $75,000.00 exclusive of interest and costs.

        12.       This Court is the proper venue for this action pursuant to 28 U.S.C. § 1391

 because it is the district in which a substantial part of the events given rise to the claim

 occurred. Specifically, the contract of insurance at issue between Moore Freight and Canal

 was negotiated and delivered in Knoxville, Tennessee, which is in this district, through the

 insurance agent Moore Freight used.

                                            FACTS

        13.       On February 28, 2013, Wilson commenced a lawsuit in the United States

 District Court for the Eastern District of Pennsylvania against Hospitality Properties Trust

 d/b/a Travelcenters of America, TravelCenters of America, LLC, Harris, Moore Freight,

 Eastbridge, and Utility Trailer Manufacturing Company. The lawsuit bears civil action

 number 2:13-cv-01093. A copy of the complaint was previously attached as Exhibit A to

 Complaint for Declaratory Relief (D.E. No. 1-1).

        14.       On June 14, 2013, Wilson filed an Amended Complaint which, among other

 things, named Manac, Inc. and Manac Trailers USA, Inc. as additional defendants;

 substituted TA Operating LLC for Defendant TravelCenters of America, LLC; and removed




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 Hospitality Properties Trust d/b/a TravelCenters of America, LLC as a named defendant. A

 copy of the amended complaint is attached hereto as Exhibit A.

        15.       On September 25, 2013, Wilson filed a Second Amended Complaint which,

 among other things, named Hendrickson and Boler as additional defendants; and removed

 Utility Trailer Manufacturing Company as a named defendant. A copy of the second

 amended complaint is attached hereto as Exhibit B.

        16.       The allegations of the underlying tort suit arise from the alleged personal

 injury and wrongful death of Jerry Wilson on or about October 17, 2011.

        17.       According to the allegations of the underlying lawsuit, at all relevant times,

 Jerry Wilson was hired by Moore Freight to haul glass; Moore Freight provided Jerry Wilson

 with trailer #211857 TN Reg #U256293 to haul the glass; and Jerry Wilson was using the

 trailer in the course and scope of occupation.

        18.       Further according to the allegations of the underlying lawsuit, on or about

 October 17, 2011, Jerry Wilson pulled his truck to the side of the road because his trailer’s

 brakes began smoking and/or caught fire. While responding to this situation, Jerry Wilson’s

 heart stopped beating, and he died.

        19.        The underlying lawsuit alleges that the various defendants, including Moore

 Freight, are liable for the personal injuries and death of Jerry Wilson under theories of strict

 product liability and negligence which proximately caused the injuries and resulting death.

 The lawsuit further alleges that the various defendants, including Moore Freight, are liable

 to Patty Wilson for the loss of consortium.




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                                    Canal Insurance Policy

        20.       Plaintiff Canal issued its commercial automobile policy, policy number

 PIA06396501 (copy previously attached as Exhibit B to Complaint for Declaratory

 Judgment (D.E. No. 1-2)), to Defendant Moore Freight on January 1, 2011. This “Moore

 Freight policy” was in full force and effect at all times pertinent to this action. Moore Freight

 is the named insured on this policy.

        21.       The Moore Freight policy contains an exclusion for “‘bodily injury’ to [a]n

 ‘employee’ of the ‘insured’ arising out of and in the course of [e]mployment by the ‘insured’

 or [p]erforming the duties related to the conduct of the ‘insured’s’ business.” For purposes

 of the Moore Freight policy, an independent contractor is a statutory employee. Wilson

 alleges that Moore Freight hired Jerry Wilson to haul glass; that Moore Freight provided a

 trailer to Jerry Wilson to haul the glass; and that Jerry Wilson used the trailer in the course

 and scope of his occupation. Therefore, because Jerry Wilson was either an employee or

 an independent contractor of Moore Freight at the time of the accident, coverage is not

 afforded under the Moore Freight policy.

        22.       The Moore Freight policy contains a workers’ compensation exclusion which

 excludes coverage for “[a]ny obligation for which the ‘insured’ or the ‘insured’s’ insurer may

 be held liable under any workers’ compensation, disability benefits or unemployment

 compensation law or any similar law.” For purposes of the Moore Freight policy, an

 independent contractor is a statutory employee. Wilson alleges that Moore Freight hired

 Jerry Wilson to haul glass; that Moore Freight provided a trailer to Jerry Wilson to haul the

 glass; and that Jerry Wilson used the trailer in the course and scope of his occupation.

 Therefore, because Moore Freight may be held liable for Jerry Wilson’s personal injury and




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 death under workers compensation, coverage is not afforded under the Moore Freight

 policy.

           23.    The Moore Freight policy provides coverage for an insured resulting from an

 “accident” and “bodily injury” resulting from the ownership, maintenance, or use of a

 covered “auto”. The allegations of the underlying lawsuit allege a cause of action for

 product liability stating, among other things, that the trailer and/or braking system was

 dangerous, defective, and/or a hazardous condition and that Defendant Moore Freight is

 strictly liable under product liability. The Moore Freight policy affords no coverage for

 allegations of product liability and such allegations do not meet the policy definitions of an

 “accident” and “bodily injury” arising from ownership, maintenance, or use of a covered

 “auto”; therefore, coverage is not afforded under the Moore Freight policy.

           24.    The Moore Freight policy contains a federally mandated endorsement (known

 as the “MCS-90 endorsement”) that may be applicable under certain circumstances.

 However, the MCS-90 endorsement only applies to “for-hire motor carriers operating motor

 vehicles transporting property in interstate or foreign commerce.” 49 C.F.R. § 387.3. The

 MCS-90 endorsement does not apply to injury to or death of the insured’s employees while

 engaged in the course of their employment. According to the allegations of the underlying

 lawsuit, Jerry Wilson was either employed by Moore Freight or was an independent

 contractor. For purposes of the Moore Freight policy, an independent contractor is a

 statutory employee; therefore, the MCS-90 is not applicable.

           25.    Moore Freight has demanded that Plaintiff Canal provide a defense and

 indemnify them for the underlying lawsuit filed against them and other defendants in the

 United States District Court for the Eastern District of Pennsylvania.




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          26.     Plaintiff Canal contends and asserts that it has no duty under its commercial

 automobile policy, policy number PIA06396501, or any endorsements attached thereto, to

 defend and/or indemnify Moore Freight on the facts alleged in the underlying lawsuit filed in

 the United States District Court for the Eastern District of Pennsylvania. Therefore, an

 actual, justiciable controversy exists relating to the legal rights and duties of these parties.

          27.     Further, Plaintiff Canal contends and asserts that the MCS-90 endorsement is

 not applicable under the facts alleged in the underlying lawsuit filed in the United States

 District Court for the Eastern District of Pennsylvania. Therefore, an actual justiciable

 controversy exists relating to the legal rights and duties of the parties under the policy of

 insurance.

          WHEREFORE, PREMISES CONSIDERED, Plaintiff Canal Insurance Company

 prays:

          1.      That process issue and be served upon the Defendants requiring each of

 them to answer this Complaint for Declaratory Judgment;

          2.      For declaration of rights, obligations, and legal relations of the Plaintiff and

 Defendants by reason of the aforesaid policy of insurance;

          3.      For a declaration that Plaintiff is not obligated to furnish legal counsel or

 otherwise provide a defense on behalf of Defendant Moore Freight in the underlying lawsuit

 filed in the United States District Court for the Eastern District of Pennsylvania;

          4.      For a declaration that no coverage is afforded under the insured’s policy and

 any endorsements thereto issued to Moore Freight, policy number PIA06396501, for the

 claims and demands made by any plaintiff or defendant in the underlying lawsuit filed in the

 United States District Court for the Eastern District of Pennsylvania;




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        5.        For a declaration that the MCS-90 endorsement to the Moore Freight policy is

 not applicable to the claims and demands made by any Defendants;

        6.        For the cost of this cause; and

        7.        For such other and further relief to which Plaintiff may be entitled under the

 facts and circumstances of this cause.

                                       Respectfully submitted,

                                       RAINEY, KIZER, REVIERE & BELL, P.L.C.



                                       By: __s/ R. Dale Thomas______________________
                                             R. DALE THOMAS, #13439
                                             Attorney for Plaintiff Canal Insurance Company
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                                             P. O. Box 1147
                                             Jackson, TN 38302-1147
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                               CERTIFICATE OF SERVICE

 The undersigned certifies that a true copy of this pleading or document was served upon
 counsel for each of the parties by mailing postage prepaid or by delivery to the person or
 office of such counsel.

        Barbara D. Holmes
        David P. Canas
        Tracy M. Lujan
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        Nashville, TN 37201

        Attorney for Moore Freight Services, Inc.


       The undersigned certifies that a true copy of this pleading or document was served
 upon the following through the Court’s electronic filing system.

        Ms. Maureen E. Daley
        Ms. Melissa R. Knoerzer
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        Attorney for T.A. Operating, LLC
        Attorney for Treston W. Harris


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        19th Floor
        Philadelphia, PA 19103

        Attorney for Patty C. Wilson, Indiv. and as Admin. of the Estate of Jerry Wilson

        This the 26th day of November, 2013.


                                                    __s/ R. Dale Thomas_________




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